 EXHIBIT C




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                             BIS-2020: Business Interruption Survey
                         Insurance Commissioner Request for Information
                                               CALIFORNIA DEPARTMENT OF INSURANCE
                                                   Data Analytics and Reporting Division
                                                             COMPANY INFORMATION


                CALIFORNIA DEPARTMENT OF INSURANCE                                                       FOR CDI USE ONLY
                Data Analytics and Reporting Division
                300 South Spring Street, 14th Floor
                Los Angeles, CA 90013


                PURPOSE: Pursuant to California Insurance Code §12924, the purpose of this data workbook is to collect company
                responses to the California Insurance Commissioner's request for information on Business Interruption Insurance
                and related coverage from all California Admitted Licensees and from non-admitted companies writing commercial
                type policies in California.

                Data collected under this request will be reported in the aggregate and individual company data will not be shared
                with the public.

                The information the CDI is requesting pertains to commercial multiple peril insurance, business owners policies
                (BOP), and other specialized commercial insurance policies .



                                     Data is due no later than APRIL 9, 2020
                For efficient and quick response, we request companies to submit this workbook via the steps at the bottom of
                                                                 this form.




                1. Indicate if this is a Group or Individual Company Submission.

                                         yes     Group                          Individual            **REQUIRED**



                2. NAIC Code:                                                                 Group Code:      0244
                3. Company or Group Name: The Cincinnati Insurance Companies
                                     Address: 6200 S. Gilmore Road
                                           City: Fairfield                                   State:    OH    ZIP Code:      45014

                4. Company Contact Person:                                                                                (extension)

                              Name: Steve Corbly                                   Phone Number:       (513) 870-2448
                                Title: Assistant Vice President - Regulatory and Compliance
                                                                                  FAX Number:
                                                 E-mail address: Steve_Corbly@cinfin.com

                5. Company Technical Contact Person: (Responsible for answering technical questions, if different from above.)
                              Name:                                                Phone Number:
                                Title:                                              FAX Number:
                                                 E-mail address:

                6. Company CEO
                           Name: Steve Johnston                                    Phone Number:       (513) 870-2000
                                                 E-mail address:



CALIFORNIA DEPARTMENT OF INSURANCE                                                                                                                  BIS-2020
Data Analytics Reporting Division                                                                                                         Printed:9/29/2021
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                    BIS-2020: Business Interruption Survey
                Insurance Commissioner Request for Information
                                           COMPANY INFORMATION (continued)

        NAIC Code:                    0                                        Group Code:   0244
        Company or Group Name: The Cincinnati Insurance Companies

     7. List of affiliated companies included in this report and that apply:
        ** complete this section only if you are reporting as a group **
       NAIC CODE                        COMPANY NAME
            10677                       The Cincinnati Insurance Company
            23280                       The Cincinnati Indemnity Company
            28665                       The Cincinnati Casualty Company




CALIFORNIA DEPARTMENT OF INSURANCE                                                                            BIS-2020
Data Analytics and Reporting Division                                                               Printed:9/29/2021
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                                                               2                                CIC-STJR00000193
                           Business Interruption Questionnaire: Insurance Commissioner Request for Information
                            Commercial Insurance
                            Business Interruption Coverage

                            Directions: All California Admitted Licensees and non-admitted companies with an existing book of business under commercial multiple peril insurance, business owners policies (BOP), and
                            other specialized commercial insurance policies are requested to respond to this questionnaire.


                            For each policy type and business size, provide the total number of policies in force as of March 26, 2020 regardless whether the policy has any type of business interruption coverage.

                            For all types of business interruption insurance related coverage listed, either through an endorsement or written as a separate policy, provide the number of commercial policies that have
                            that coverage. How many of these policies have an exclusion for viral contamination, virus, disease, or similar exclusion that may exclude coverage for business interruption coverage, civil
                            authority coverage, contingent business interruption coverage, supply chain coverage, and event cancellation coverage for COVID-19 related issues?




                                                                                                                    How Many of                            How Many of                        How Many of                          How Many of
                                                                                                                                                                            Total Number of
                                                                                                  Total Number of These Policies                           These Policies                     These Policies                       These Policies
                                                                                                                                     Total Number of                          Policies with                    Total Number of
                                                                                                    Policies with  have Exclusions                        have Exclusions                    have Exclusions                      have Exclusions
                                                                                  Total Number of                                    Policies with Civil                       Contingent                        Policies with
                            Policy Type                                               Policies
                                                                                                      Business        for Viral
                                                                                                                                         Authority
                                                                                                                                                              for Viral
                                                                                                                                                                                Business
                                                                                                                                                                                                 for Viral
                                                                                                                                                                                                                Supply Chain
                                                                                                                                                                                                                                     for Viral
                                                                                                    Interruption   Contamination,                         Contamination,                     Contamination,                       Contamination,
                                                                                                                                         Coverage                             Interruption                        Coverage
                                                                                                      Coverage    Virus, Disease, or                     Virus, Disease, or                 Virus, Disease, or                   Virus, Disease, or
                                                                                                                                                                                Coverage
                                                                                                                  Similar Exclusion                      Similar Exclusion                  Similar Exclusion                    Similar Exclusion
                            For businesses with 500+ Employees (or based on your definition of a Large Business)                                     Report the total 2019 written premium for this category: $                            283,461

                            Commercial Multiperil Peril                                           7               7                0                6               0                 1                 0              0                 0
                            Business Owner Policy                                                 0               0                0                0               0                 0                 0              0                 0
                            Other Commercial (excluding Event Cancellation)                       5               5                0                5               0                 4                 0              0                 0
                            Event Cancellation                                                    8               8                0                0               0                 0                 0              0                 0

                            For businesses w/ 101 to 500 Employees (or based on your definition of a Medium Size Business)                                Report the total 2019 written premium for this category: $                      123,178

                            Commercial Multiperil Peril                                          49               48               0               33               0                 3                 0              0                 0
                            Business Owner Policy                                                 0               0                0                0               0                 0                 0              0                 0
                            Other Commercial (excluding Event Cancellation)                       7               7                0                5               0                 4                 0              0                 0
                            Event Cancellation                                                   12               12               0                0               0                 0                 0              0                 0

                            For businesses with 100 or less Employees (or based on your definition of a Small Business)                                   Report the total 2019 written premium for this category: $                      151,152

                            Commercial Multiperil Peril                                          164             147               0               50               0                 0                 0              0                 0
                            Business Owner Policy                                                 0               0                0                0               0                 0                 0              0                 0
                            Other Commercial (excluding Event Cancellation)                       0               0                0                0               0                 0                 0              0                 0
                            Event Cancellation                                                    4               4                0                0               0                 0                 0              0                 0


                            Event Cancellation coverage is not written on a stand alone policy. It is issued as an endorsement to an existing policy. We break out those policies with Event cancellation for reporting purposes only. Premiums
                            are for current in force policies (Correspond to policy counts in this worksheet). We defined Large, Medium and Small as follows; Large = Property Premium >100K. Medium = Property Premium <100K and >10K.
                            Small = Property Premium <10K. The number of business interruption (BI) policies with the ISO virus exclusions is zero. The insuring agreements of our commercial policies provide coverage for direct physical




CALIFORNIA DEPERTMENT OF INSURANCE                                                                                                                                                                                                                                 BIS-2020
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                            Data Call for COVID-19 Coverage Information - Part 1
                                            Premium and Policies

NAIC Group Code:                     Group Name:
NAIC Group Code is a required field. Your file will fail without it. If you are not part of a group and therefore have no group code/name, please include your company code and name above.
            NAIC Company Codes:                         Company Names:
                                                                                                                            Group/Company Contact
                                                                                                                            Name (First Last):
                                                                                                                            E-Mail Address:
                                                                                                                            Phone Number (xxx-xxx-xxxx):




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                                                                                            1                                                                     CIC-STJR00023434
                                                        Commercial Multiple Peril and Any Other Applicable Lines with BI Coverage
                                                                                                                                                                % of Policies with Exclusion for Viral
                                                                                                                                      % of Policies with Physical Loss
                                                                                               Number of Policies in Force as of                                   Contamination, Virus, Disease,
                                                                                                                                     Requirement (Must be entered as a
                                                                                                       Dec. 31, 2019                                           Pandemic, or Similar Exclusion (Must be
                                                            Total Premium Written in 2019                                                    decimal, .02 = 2%)
                                                                                                                                                                   entered as a decimal, .02 = 2%)
                                                            Total Policy     BI Premium (if     Small      Medium     Large      Small     Medium      Large       Small         Medium        Large
                                  Line of Business           Premium          separable)      Businesses Businesses Businesses Businesses Businesses Businesses Businesses Businesses Businesses
Alabama                AL   Commercial Multiple Peril        73,192,534.00     2,111,373.00      2,632.00    1,261.00      102.00   1.0000        1.0000        1.0000        0.0004          0.0000        0.0000
Alaska                 AK   Commercial Multiple Peril                  -                -             -           -           -     -             -             -             -               -             -
Arizona                AZ   Commercial Multiple Peril        45,430,829.00       899,430.00      1,195.00      809.00       69.00   1.0000        1.0000        1.0000        0.0000          0.0000        0.0000
Arkansas               AR   Commercial Multiple Peril        38,837,658.00     1,055,006.00      1,372.00      671.00       52.00   1.0000        1.0000        1.0000        0.0007          0.0060        0.0385
California             CA   Commercial Multiple Peril                  -                -             -           -           -     -             -             -             -               -             -
Colorado               CO   Commercial Multiple Peril        30,054,142.00       673,844.00        667.00      560.00       35.00   1.0000        1.0000        1.0000        -               -             -
Connecticut            CT   Commercial Multiple Peril        15,648,502.00       608,685.00        465.00      379.00       14.00   1.0000        1.0000        1.0000        0.0022          0.0053        0.0000
Delaware               DE   Commercial Multiple Peril        10,691,747.00       320,925.00        368.00      203.00       13.00   1.0000        1.0000        1.0000        0.0000          0.0000        0.0000
District of Columbia   DC   Commercial Multiple Peril           584,073.00        59,532.00         19.00       13.00        2.00   1.0000        1.0000        1.0000        0.0000          0.0000        0.0000
Florida                FL   Commercial Multiple Peril        36,231,239.00     1,443,092.00      1,509.00      620.00       44.00   1.0000        1.0000        1.0000        0.0000          0.0000        0.0000
Georgia                GA   Commercial Multiple Peril       109,598,154.00     3,386,304.00      3,917.00    1,843.00      137.00   1.0000        1.0000        1.0000        0.0003          0.0000        0.0000
Hawaii                 HI   Commercial Multiple Peril                  -                -             -           -           -     1.0000        1.0000        1.0000        -               -             -
Idaho                  ID   Commercial Multiple Peril        34,820,253.00       659,233.00        750.00      587.00       54.00   1.0000        1.0000        1.0000        0.0000          0.0000        0.0000
Illinois               IL   Commercial Multiple Peril       141,738,677.63     3,921,221.00      5,822.00    2,578.00      180.00   1.0000        1.0000        1.0000        0.0002          0.0004        0.0000
Indiana                IN   Commercial Multiple Peril       128,304,545.00     2,878,198.00      5,797.00    2,437.00      136.00   1.0000        1.0000        1.0000        0.0002          0.0000        0.0000
Iowa                   IA   Commercial Multiple Peril        42,241,426.00     1,103,135.00      1,617.00      719.00       62.00   1.0000        1.0000        1.0000        0.0006          0.0000        0.0000
Kansas                 KS   Commercial Multiple Peril        31,697,101.00       824,412.00      1,204.00      609.00       37.00   1.0000        1.0000        1.0000        0.0000          0.0016        0.0000
Kentucky               KY   Commercial Multiple Peril        82,637,480.00     2,019,302.00      3,662.00    1,420.00       97.00   1.0000        1.0000        1.0000        0.0000          0.0000        0.0103
Louisiana              LA   Commercial Multiple Peril                  -                -             -           -           -     -             -             -             -               -             -
Maine                  ME   Commercial Multiple Peril                  -                -             -           -           -     -             -             -             -               -             -
Maryland               MD   Commercial Multiple Peril        35,502,142.00     1,417,540.00      1,504.00      579.00       33.00   1.0000        1.0000        1.0000        0.0000          0.0000        0.0303
Massachusetts          MA   Commercial Multiple Peril           727,711.00        18,309.00         14.00       11.00        2.00   1.0000        1.0000        1.0000        1.0000          0.9091        1.0000
Michigan               MI   Commercial Multiple Peril       104,632,951.00     3,111,482.00      5,247.00    1,948.00      115.00   1.0000        1.0000        1.0000        0.0000          0.0005        0.0000
Minnesota              MN   Commercial Multiple Peril        58,082,910.00     1,716,858.00      2,007.00    1,011.00       75.00   1.0000        1.0000        1.0000        0.0000          0.0000        0.0000
Mississippi            MS   Commercial Multiple Peril                  -                -             -           -           -     -             -             -             -               -             -
Missouri               MO   Commercial Multiple Peril        84,301,124.63     2,189,761.00      2,851.00    1,542.00      109.00   1.0000        1.0000        1.0000        0.0004          0.0000        0.0000
Montana                MT   Commercial Multiple Peril        46,124,629.00       831,304.00      1,111.00      688.00       88.00   1.0000        1.0000        1.0000        0.0000          0.0015        0.0000
Nebraska               NE   Commercial Multiple Peril        24,706,587.00       611,400.00        723.00      415.00       38.00   1.0000        1.0000        1.0000        0.0000          0.0000        0.0000
Nevada                 NV   Commercial Multiple Peril                  -                -             -           -           -     -             -             -             -               -             -
New Hampshire          NH   Commercial Multiple Peril         7,707,848.00       200,448.00        538.00      143.00       11.00   1.0000        1.0000        1.0000        0.0019          0.0000        0.0909
New Jersey             NJ   Commercial Multiple Peril         2,351,552.00       149,367.00         26.00       28.00        2.00   1.0000        1.0000        1.0000        0.0000          0.0000        0.0000
New Mexico             NM   Commercial Multiple Peril        22,910,102.00       298,319.00        735.00      479.00       26.00   1.0000        1.0000        1.0000        0.0000          0.0000        0.0000
New York               NY   Commercial Multiple Peril        69,582,389.41     1,920,194.00      1,192.00    1,236.00      102.00   1.0000        1.0000        1.0000        0.0000          0.0008        0.0098
North Carolina         NC   Commercial Multiple Peril       130,274,183.00     3,414,647.00      7,645.00    2,512.00      111.00   1.0000        1.0000        1.0000        0.0000          0.0016        0.0000
North Dakota           ND   Commercial Multiple Peril        10,708,377.00       293,486.00        246.00      167.00       20.00   1.0000        1.0000        1.0000        0.0000          0.0000        0.0000
Ohio                   OH   Commercial Multiple Peril       378,117,704.00    11,064,054.00     17,326.00    6,439.00      534.00   1.0000        1.0000        1.0000        0.0004          0.0002        0.0019
Oklahoma               OK   Commercial Multiple Peril                  -                -             -           -           -     -             -             -             -               -             -
Oregon                 OR   Commercial Multiple Peril        45,558,990.00     1,104,146.00        910.00      794.00       72.00   1.0000        1.0000        1.0000        0.0000          0.0000        0.0000
Pennsylvania           PA   Commercial Multiple Peril       145,001,475.00     3,156,138.00      5,716.00    2,538.00      216.00   1.0000        1.0000        1.0000        0.0000          0.0000        0.0000
Rhode Island           RI   Commercial Multiple Peril                  -                -             -           -           -     -             -             -             -               -             -
South Carolina         SC   Commercial Multiple Peril        27,155,737.00       664,759.00      1,041.00      450.00       36.00   1.0000        1.0000        1.0000        0.0000          0.0000        0.0000
South Dakota           SD   Commercial Multiple Peril         9,232,205.00       384,785.00        216.00      160.00       14.00   1.0000        1.0000        1.0000        0.0000          0.0000        0.0000
Tennessee              TN   Commercial Multiple Peril        98,676,834.00     2,675,671.00      4,407.00    1,773.00      117.00   1.0000        1.0000        1.0000        0.0009          0.0006        0.0085
Texas                  TX   Commercial Multiple Peril        80,510,372.00     2,029,924.00      1,092.00    1,222.00      134.00   1.0000        1.0000        1.0000        0.0009          0.0008        0.0000
Utah                   UT   Commercial Multiple Peril        33,441,097.00       652,519.00      1,079.00      603.00       41.00   1.0000        1.0000        1.0000        0.0000          0.0000        0.0000
Vermont                VT   Commercial Multiple Peril        14,437,800.00       423,516.00      1,010.00      282.00       15.00   1.0000        1.0000        1.0000        0.0020          0.0000        0.0000
Virginia               VA   Commercial Multiple Peril        87,239,165.00     2,313,311.00      4,679.00    1,505.00       89.00   1.0000        1.0000        1.0000        0.0019          0.0020        0.0112
Washington             WA   Commercial Multiple Peril        28,081,087.00       447,968.00        443.00      570.00       31.00   1.0000        1.0000        1.0000        0.0000          0.0000        0.0000
West Virginia          WV   Commercial Multiple Peril        22,286,228.00       395,054.00      1,157.00      416.00       22.00   1.0000        1.0000        1.0000        0.0000          0.0000        0.0000
Wisconsin              WI   Commercial Multiple Peril        61,683,524.00     2,073,962.00      2,643.00    1,194.00       80.00   1.0000        1.0000        1.0000        0.0000          0.0008        0.0000
Wyoming                WY   Commercial Multiple Peril         6,433,070.00       147,524.00        156.00      110.00        9.00   1.0000        1.0000        1.0000        0.0000          0.0000        0.0000
U.S. Virgin Islands    VI   Commercial Multiple Peril                  -                -             -           -           -     -             -             -             -               -             -
Total                                                        2457176154.67                      96,710.00   43,524.00    3,176.00        1.0000        1.0000        1.0000            0.0005      0.0007        0.0035

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                                                                                Businessowners Policies
                                                                                                                                                       % of Policies with Exclusion for Viral
                                                                                                                            % of Policies with Physical Loss
                                                                                   Number of Policies in Force as of                                Contamination, Virus, Disease, Pandemic,
                                                                                                                           Requirement (Must be entered as a
                                                                                           Dec. 31, 2019                                            or Similar Exclusion (Must be entered as a
                                                                                                                                   decimal, .02 = 2%)
                                                    Total Premium Written in 2019                                                                                decimal, .02 = 2%)
                                                     Total Policy   BI Premium (if  Small     Medium      Large      Small     Medium      Large        Small          Medium          Large
                                Line of Business      Premium          separable) Businesses Businesses Businesses Businesses Businesses Businesses Businesses       Businesses Businesses
Alabama                AL   Businessowners Policy
Alaska                 AK   Businessowners Policy
Arizona                AZ   Businessowners Policy
Arkansas               AR   Businessowners Policy
California             CA   Businessowners Policy
Colorado               CO   Businessowners Policy
Connecticut            CT   Businessowners Policy
Delaware               DE   Businessowners Policy
District of Columbia   DC   Businessowners Policy
Florida                FL   Businessowners Policy
Georgia                GA   Businessowners Policy
Hawaii                 HI   Businessowners Policy
Idaho                  ID   Businessowners Policy
Illinois               IL   Businessowners Policy
Indiana                IN   Businessowners Policy
Iowa                   IA   Businessowners Policy
Kansas                 KS   Businessowners Policy
Kentucky               KY   Businessowners Policy
Louisiana              LA   Businessowners Policy
Maine                  ME   Businessowners Policy
Maryland               MD   Businessowners Policy
Massachusetts          MA   Businessowners Policy
Michigan               MI   Businessowners Policy
Minnesota              MN   Businessowners Policy
Mississippi            MS   Businessowners Policy
Missouri               MO   Businessowners Policy
Montana                MT   Businessowners Policy
Nebraska               NE   Businessowners Policy
Nevada                 NV   Businessowners Policy
New Hampshire          NH   Businessowners Policy
New Jersey             NJ   Businessowners Policy
New Mexico             NM   Businessowners Policy
New York               NY   Businessowners Policy
North Carolina         NC   Businessowners Policy
North Dakota           ND   Businessowners Policy
Ohio                   OH   Businessowners Policy
Oklahoma               OK   Businessowners Policy
Oregon                 OR   Businessowners Policy
Pennsylvania           PA   Businessowners Policy
Rhode Island           RI   Businessowners Policy
South Carolina         SC   Businessowners Policy
South Dakota           SD   Businessowners Policy
Tennessee              TN   Businessowners Policy
Texas                  TX   Businessowners Policy
Utah                   UT   Businessowners Policy
Vermont                VT   Businessowners Policy
Virginia               VA   Businessowners Policy
Washington             WA   Businessowners Policy
West Virginia          WV   Businessowners Policy
Wisconsin              WI   Businessowners Policy
Wyoming                WY   Businessowners Policy
U.S. Virgin Islands    VI   Businessowners Policy
Total                                                          0.00                        0            0              0    #DIV/0!     #DIV/0!     #DIV/0!    #DIV/0!   #DIV/0!     #DIV/0!

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